




NO. 07-06-0398-CR

NO. 07-06-0399-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



DECEMBER 12, 2006

______________________________



THERESE ANN LADD,



Appellant



v.



THE STATE OF TEXAS, 



Appellee



_________________________________



FROM THE 251st DISTRICT COURT OF RANDALL COUNTY;



NOS. 17,294-C and 18,189-C; HON. PATRICK A. PIRTLE, PRESIDING

_______________________________



ON ABATEMENT AND REMAND

_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant appeals from her convictions. &nbsp;On November 21, 2006, the clerk’s record in each case was filed. &nbsp;The reporter’s records were due on November 20, 2006. &nbsp;No records or extension motions were filed by the court reporter. &nbsp;On November 27, 2006, this court directed the court reporter by letter “to advise the Court of the status of the reporter’s record on or before Thursday, December 07, 2006." &nbsp;To date, no response has been received by the court.

Accordingly, we abate this appeal and remand the cause to the 251st District Court of Potter County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:

1. &nbsp;	why the reporter’s record in each case has not been filed,


when the reporter’s records can reasonably be filed in a manner that does not further delay the prosecution of these appeals or have the practical effect of depriving the appellant of their right to appeal, and,





whether an alternate or substitute reporter should or can be appointed to complete the records in a timely manner. 




The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record in each case containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record in each case transcribing the evidence and arguments presented at the aforementioned hearing, if any. &nbsp;Additionally, the district court shall then file the supplemental records and reporter’s records transcribing the hearing with the clerk of this court on or before January 11, 2007. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before January 11, 2007.

It is so ordered.

Per Curiam

Do not publish.


